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Ao 91 (Rev. s:asl crimml complaint AU SA WAUGH-FARRETFA SlA Ben Murphyl (305) 994»4970

Um’ted States Dl'stn'ct Court

 

 

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v. Gllllll.'illm
JACQLi ES HERNES TELCV
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cum OX-é;l§l- R$K

l, the undersigned complainant being duly sworn states the following is true and correct to the best of my
knowledge and oeiief. On or about August1. 2008, at Browardcounty,' in'the~Southem District of Florida; the-
de¢endant did knowingly and intentionally possess with intent to distribute a controlled substance, that ls, fifty
(50) grams or more of a mixture andsubstance containing a detectable amountof cocaine base, more commonly
known as “crack"' cocaine, in violation of Title 21, United States Code, Sections 841(3)(1) and 841(b)(1)(A).

l tanner state tim l am a Special'Agent with the ’Drug'Enforoement'Administmiion and that this complaint is
based on the following facw: `

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signature of conlplalnam
Benfamin‘.l.'Murphy,' SIA, DEA
August 1 , 2008 '

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AFFIDAVIT
I, Benjamin J. Murphy (the “Afflant”), being duly sworn, depose and state:

l. l am employed by the Drug Enforcement Administration as a Special
Agent. l am assigned to the Mobile Enforcement Team with the responsibility of
investigating violations of federal laws, including violation of the Controlled Substances
Act. During my employment, l have participated in investigations involving the
distribution and possession with intent to distribute controlled substances, including
cocaine base, more commonly known as “crack” cocaine.

2. The facts contained in this affidavit are based on my own personal
knowledge, as well as information provided to me by other law enforcement officers. This
affidavit is submitted for the purpose of establishing probable cause in support of a
complaint for the arrest of JACQUES HERNES TELCY, in violation of Title 21, United
States Code, Sections 84l(a)(l), 84l(b)(l)(A).

BACKGROUND

3. On August l, 2008, at approx. 1:44 p.m., Broward Sheriff’s Detective
Osvaldo Tianga received information from a confidential informant, who has proven to be
reliable, indicating that an unidentified male known as “Flea” was currently transporting
cocaine and/or cocaine base throughout Broward County. The informant described Flea
as a black male, medium build, and about 30 years of age. The informant also advised
Detective Tianga that “Flea” operated a Ford Edge Sports Utility Vehicle (SUV) and
resided within a gated apartment community near 441 and State Road 84. Based on the
description of the apartment community and its location, Detective Tianga knew this
apartment community to be the “New River Cove” apartments, located at 3881 West State
Road 84, Fort Lauderdale, FL.

4. Law enforcement immediately responded to the New River Cove
Apartments. At about 2100 p.m., law enforcement observed a black Ford Edge SUV enter
the apartment complex through the “residents only” security entrance. The SUV was
operated by an individual who matched the description provided by the CI. The vehicle
was followed until it was parked in a parking space. At that time, law enforcement dressed
in plainly marked police attire, approached the vehicle and the driver. When the officers
neared the vehicle an odor of burnt marijuana was detected by Detectives Tianga and
Ronald Miller emanating from within the vehicle, The driver identified himself as Jacques
Hernes Telcy (TELCY) and advised the officers _where he lived by pointing down a
hallway of the apartment building. Law enforcement requested and received consent to
search the vehicle.

5. During a search of the vehicle, Detective Tianga recovered a partially smoked
marijuana cigarette from the rear passenger seat. Also recovered were numerous sandwich
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size btgs, caked in what appeared to be cocaine residue, from the cargo area of the SUV.
The substance field tested positive for the presence of cocaine In addition, a piece of mail
with tire address of 3881 West State Road 84, Apartment 102, Fort Lauderdale, l~`L., was
located in the vehicle '

6. TELCY confirmed that he resided at A'partment 1'02'. Detective Miller, in the
presen ::c of Detective Tianga and your At`fiant, requested and obtained a verbal consent to
search Apartment 102. TELCY directed law enforcement to the direction of apartment 102.
A key in TELCY’s possession was used to gain access to the aparunent.

7. Upon entry to the apartment, with TELCY present, law enforcement initiated
a searc'.ll. Apartment 102 was found to bc a one bed room apartment The following was
discovered: (l) approximately 70 grams of a rocky substance which appwed to by “crack”
cocaine (which field tested positive for the presence ofcocaine) along with approximately 17
grams of a white powdery substance (which field tested positive for the presence of oocaine)
were l`t-.\nnd in a kitchen dmwer; (2) approximately 690 grams of a white chunky substance
(whic`h field tested positive for the presence of cocaine) found in a safe located in the master
bedroo\:n closet; (4) approximately 3 80 grams of white substance (which field tested positive
for the presence of cocaine) found in a hallway closet; (5) assorted utensils with residue; (6)
scale w l th residue from the kitchen countcr; (7) two kilo grampressm; (8) numerous zip-lock
bags ct varying sizes; and (9) a loaded .45 caliber serni auto handgun bearing the name
“Witne:-zs,” from under the bed.

ii Based on the above facts, your affiant hereby requests that the Court find
probable cause for the arrest of.lACQUES HERNES TELCY for possession with intent to
distribu fe a controlled substancc, that is fifty (50) grams or more of a substance containing a
detectable amount of cocaine base, more commonly known as “crack” cocaine, in violation
ot` Titit: ll , United Statec Code, Sections 841(a)(1) and (b)(l)(A).

Benjamin J. urphy

Date
Spccial Agent
Drug Enforcement Adminisn~a!ion

SWORi\-. O BEFORE ME AND SUBSCRlBED
` 'l`, 2008

    

